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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND
                                  NORTHERN DIVISION

                                                   :
Frances Hammond,                                   :
                                                     Civil Action No.: ______
                                                   :
                        Plaintiff,                 :
        v.                                         :
                                                   :
Procollect Inc.; and DOES 1-10, inclusive,         :
                                                     COMPLAINT
                                                   :
                                                   :
                        Defendants.                :
                                                   :



                For this Complaint, the Plaintiff, Frances Hammond, by undersigned counsel,

states as follows:


                                         JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintiff’s

personal privacy by the Defendants and their agents in their illegal efforts to collect a consumer

debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.


                                             PARTIES

        4.      The Plaintiff, Frances Hammond (“Plaintiff”), is an adult individual residing in

Baltimore, Maryland, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).
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       5.      Defendant, Procollect Inc. (“Procollect”), is a Texas business entity with an

address of 12170 N. Abrams Road, Suite 100, Dallas, Texas 75243, operating as a collection

agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).

       6.      Does 1-10 (the “Collectors”) are individual collectors employed by Procollect and

whose identities are currently unknown to the Plaintiff. One or more of the Collectors may be

joined as parties once their identities are disclosed through discovery.

       7.      Procollect at all times acted by and through one or more of the Collectors.


                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt


       8.      The Plaintiff incurred a financial obligation in the approximate amount of $360.00

(the “Debt”) to Union Workers (the “Creditor”).

       9.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5).

       10.     The Debt was purchased, assigned or transferred to Procollect for collection, or

Procollect was employed by the Creditor to collect the Debt.

       11.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).


   B. Procollect Engages in Harassment and Abusive Tactics


       12.     Procollect called the Plaintiff numerous times per day in an attempt to collect the

Debt with the intent to harass.

       13.     Procollect told the Plaintiff to make a payment online. When the Plaintiff went to

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make an online payment, she was unable.

       14.     When the Plaintiff called Procollect to inquire on her ability to make an online

payment, a representative from Procollect named Ms. Swanson stated “I decided it. You can't

pay online. You send me a money order federal express overnight. No personal check.”

       15.     Procollect is adding interest and fees to the debt collector in violation of the

original debt agreement.

       16.     Procollect called the Plaintiff after the Plaintiff informed Procollect that she was

represented by an attorney and requested Procollect direct their calls to her attorney.


   C. Plaintiff Suffered Actual Damages


       17.     The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

       18.     As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, fear, frustration and

embarrassment.

       19.     The Defendants’ conduct was so outrageous in character, and so extreme in

degree, as to go beyond all possible bounds of decency, and to be regarded as atrocious, and

utterly intolerable in a civilized community.


                                   COUNT I
                  VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

       20.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       21.     The Defendants’ conduct violated 15 U.S.C. § 1692c(a)(2) in that Defendants

contacted the Plaintiff after having knowledge that the Plaintiff was represented by an attorney.

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       22.     The Defendants’ conduct violated 15 U.S.C. § 1692d(2) in that Defendants used

profane and abusive language when speaking with the consumer.

       23.     The Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that Defendants

caused a phone to ring repeatedly and engaged the Plaintiff in telephone conversations, with the

intent to annoy and harass.

       24.     The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that Defendants

employed false and deceptive means to collect a debt.

       25.     The Defendants’ conduct violated 15 U.S.C. § 1692f(1) in that Defendants

attempted to collect an amount not authorized by the agreement creating the Debt.

       26.     The foregoing acts and omissions of the Defendant constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

       27.     The Plaintiff is entitled to damages as a result of Defendant’s violations.


                              COUNT II
     VIOLATIONS OF THE MARYLAND CONSUMER DEBT COLLECTION ACT
                   MD. CODE COMM. LAW § 14-201, et seq.

       28.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       29.     The Defendants are each individually a “collector” as defined under MD. Code

Comm. Law § 14-201(b).

       30.     The debt is a “consumer transaction” as defined under MD. Code Comm. Law

§ 14-201(c).

       31.     The Defendants repeatedly contacted the Plaintiff with the intent to harass or

abuse, in violation of MD. Code Comm. Law § 14-202(6).

       32.     The Defendants used obscene and grossly abusive language when communicating


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with the Plaintiff, in violation of MD. Code Comm. Law § 14-202(7).

       33.     The Plaintiff is entitled to damages proximately caused by the Defendants’

violations.


                                 COUNT IV
              INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

       34.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       35.     The Restatement of Torts, Second, § 652(b) defines intrusion upon seclusion as,

“One who intentionally intrudes…upon the solitude or seclusion of another, or his private affairs

or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be

highly offensive to a reasonable person.”

       36.     Maryland further recognizes the Plaintiff’s right to be free from invasions of

privacy, thus Defendants violated Maryland state law.

       37.     The Defendants intentionally intruded upon Plaintiff’s right to privacy by

continually harassing the Plaintiff with numerous phone calls per day and making the Plaintiff

pay the Debt by an unnecessary procedure.

       38.     The telephone calls made by the Defendants to the Plaintiff were so persistent and

repeated with such frequency as to be considered “hounding the plaintiff” and “a substantial

burden to her existence,” thus satisfying the Restatement of Torts, Second, § 652(b) requirement

for an invasion of privacy.

       39.     The conduct of the Defendants in engaging in the illegal collection activities

resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person.

       40.     As a result of the intrusions and invasions, the Plaintiff is entitled to actual

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damages in an amount to be determined at trial from the Defendants.


                                   PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff prays that judgment be entered against the Defendants:

                  1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the Defendants;

                  2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A)

                     against the Defendants;

                  3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                     § 1692k(a)(3) against the Defendants;

                  4. Actual damages pursuant to MD. Code Comm. Law § 14-203;

                  5. Actual damages pursuant to MD. Ann. Code. Bus. Reg. § 7-401(b);

                  6. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);

                  7. Actual damages from the Defendants for the all damages suffered as a result

                     of the intentional, reckless, and/or negligent FDCPA violations and

                     intentional, reckless, and/or negligent invasions of privacy in an amount to

                     be determined at trial for the Plaintiff; and

                  8. Such other and further relief as may be just and proper.

                     TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: September 28, 2010

                                             Respectfully submitted,

                                             By_/s/ Forrest E. Mays_________

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